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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


Brock Stone, et al.,

                              Plaintiffs,

               v.                                    Case No. 1:17-cv-02459 (MJG)

Donald J. Trump, et al.,

                              Defendants.



               DECLARATION OF MITCHELL KAMIN IN SUPPORT OF
             PLAINTIFFS’ MOTION TO COMPEL INITIAL DISCLOSURES

I, MITCHELL KAMIN, depose and say as follows:

       1.      I make this declaration in support of the remedies and relief sought by Plaintiffs in

this case. The following facts are based on my own personal knowledge.

       2.      I am an attorney with the law firm of Covington & Burling LLP, and I represent

Plaintiffs Brock Stone, Kate Cole, John Doe, Seven Ero George, Teagan Gilbert, Tommie

Parker, and the American Civil Liberties Union of Maryland, Inc. in this action.

       3.      Attached hereto as “Exhibit 1” is a true and correct copy of the initial disclosures

served by the Defendants in this action on January 9, 2018 (“Defendants’ Initial Disclosures”).

       4.      On January 10, 2018 at approximately 1:00 p.m. EST, my colleague Marianne

Kies and I conferred by telephone with Ryan Parker, counsel for Defendants. Among other

topics, we discussed Defendants’ Initial Disclosures. We conveyed Plaintiffs’ position that

Defendants’ Initial Disclosures were manifestly inadequate and requested that Defendants

correct them promptly. Mr. Parker advised us that Defendants did not presently intend to
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